






NO. 07-04-0401-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MARCH 30, 2005



______________________________




WAYNE HALBERT, APPELLANT



V.



KIDD JONES OIL COMPANY AND TEXAS TRANSEASTERN, INC., APPELLEES



	

_________________________________



FROM THE 392ND DISTRICT COURT OF HENDERSON COUNTY;



NO. 00B-316; HONORABLE CARTER TARRANCE, JUDGE



_______________________________




Before QUINN and REAVIS and CAMPBELL, JJ.



MEMORANDUM OPINION


	Following a non-jury trial, appellant Wayne Halbert challenges a judgment that he
take nothing on his Deceptive Trade Practices Act claim against Kidd Jones Oil Company
and Texas Transeastern, Inc.  By two issues, he questions 1) whether he proved and
established by a preponderance of the evidence that the contaminated fuel incident or any
other conduct, act, or omission of Kidd Jones or Transeastern was the producing cause of
additional damages or loss, and 2) whether the trial court committed harmful error by
denying his request for additional findings of fact and conclusions of law.  We affirm.

	On May 27, 2000, Halbert purchased fuel at a Kidd Jones station for his 1993
Chevrolet diesel truck.  That morning, prior to Halbert's purchase, Transeastern mistakenly
delivered gasoline into Kidd Jones's diesel tank, thereby contaminating their diesel fuel
supply.  Shortly after fueling, the engine in Halbert's truck began experiencing problems
and refused to start.  Halbert had his truck towed to Elliott Chevrolet for repairs.  At that
time, according to the repair order, the truck's odometer indicated 198,849 miles. The
repairs were completed on May 30, 2000, and the $520.49 repair bill was paid by Kidd
Jones.  Following the repairs, Halbert drove the truck for some time before he encountered
additional problems with the engine. (1)  On March 7, 2002, the engine was inspected by Kidd
Jones's expert who recorded the truck's odometer at 211,070.  Halbert, a self-employed
diesel mechanic, then performed substantial repairs on the engine on June 6, 2002, at a
cost of $6,691.66, and again on June 23, 2002, at a cost of $5,583.48.

	Halbert sought to recover his damages under section 17.50 of the Deceptive Trade
Practices-Consumer Protection Act.  By his petition, he alleged violations of the Act and
sought to recover damages, which were not specifically identified or described, that would
exceed $50,000.  Following a non-jury trial, the trial court signed a judgment by which it
found, among other things, that the contaminated fuel was the producing cause of
damages to Halbert's truck and all damages were remedied and repaired on May 30,
2000.  Because Kidd Jones fully paid all costs and expenses for the repairs, the court
rendered judgment that Halbert recover nothing from Kidd Jones.  On May 5, 2004, at
Halbert's request, the trial court made eighteen findings of fact and five conclusions of law. 
As is material here, the trial court found that Halbert suffered no damages or loss due to
the contaminated fuel subsequent to the repairs made on May 30, 2000.  On June 8,
2004, Halbert requested that the trial court make additional findings of fact and
conclusions of law.  Kidd Jones and Transeastern objected to the request alleging it was
untimely under Rule 298 of the Texas Rules of Civil Procedure. The trial court
subsequently denied Halbert's request for additional findings or conclusions.

Request for Additional Findings and Conclusions

	Addressing the issues in logical order, we first review Halbert's second issue.  By
this issue, Halbert contends the trial court erred by denying his request for additional
findings of fact and conclusions of law.  We disagree.  At Halbert's request, the trial court
filed its initial findings and conclusions on May 5, 2004.  Halbert filed his request for
additional findings on June 8, 2004.  However, Rule 298 requires that a request for
additional or amended findings or conclusions be filed within ten days after the filing of the
original request.  Because Halbert's request was untimely, appellant's second issue is
overruled.  See Richardson v. Milner, 345 S.W.2d 449, 450 (Tex.Civ.App.-Amarillo 1961,
writ ref'd n.r.e.).

Sufficiency of the Evidence

	We now consider Halbert's first issue by which he challenges the trial court's
findings pertaining to additional damages.  Halbert contends the trial court's findings were
in error and that a preponderance of the evidence shows that the contaminated fuel
purchased from Kidd Jones caused him to sustain damages and losses in addition to
those for which he was compensated.  We disagree.          

	In reaching this conclusion, we must first consider the appropriate standard of
review.  Findings of fact in a bench trial have the same force as a jury's verdict upon jury
questions.  City of Clute v. City of Lake Jackson, 559 S.W.2d 391, 395 (Tex.Civ.App.--Houston [14th Dist.] 1977, writ ref'd n.r.e.).  However, findings of fact are not conclusive
when a complete statement of facts appears in the record, if the contrary is established as
a matter of law, or if there is no evidence to support the findings.  Middleton v. Kawasaki
Steel Corp., 687 S.W.2d 42, 44 (Tex.App.--Houston [14th Dist.] 1985), writ ref'd n.r.e., 699
S.W.2d 199 (Tex. 1985) (per curiam).  When the trial court acts primarily as a fact finder,
the findings of fact are reviewable for factual and legal sufficiency under the same
standards that are applied in reviewing evidence supporting a jury's answer.  Zieben v.
Platt, 786 S.W.2d 797, 799 (Tex.App.--Houston [14th Dist.] 1990, no writ). See also W.
Wendell Hall, Standards of Review in Texas, 34 St. Mary's L.J. 1, 183 (2002). 

	When an appellant challenges both the legal and factual sufficiency of the evidence,
the appellate court should first review the legal sufficiency challenge.  Glover  v. Texas
Gen. Indem. Co., 619 S.W.2d 400, 401 (Tex. 1981); Koch Oil Co. v. Wilber, 895 S.W.2d
854, 862 (Tex.App.--Beaumont 1995, writ denied).  An appellant attacking the legal
sufficiency of an adverse finding on which he had the burden of proof must show on appeal
that a contrary finding was established as a matter of law.  Croucher v. Croucher, 660
S.W.2d 55, 58 (Tex. 1983).  The appellate court reviews the entire record for any evidence
that supports the adverse finding, while disregarding all evidence and inferences to the
contrary.  Raw Hide Oil &amp; Gas, Inc. v. Maxus Exploration Co., 766 S.W.2d 264, 276
(Tex.App.-Amarillo 1988, writ denied).  If there is no evidence to support the finding, the
reviewing court must review the entire record to determine if the contrary proposition was
established as a matter of law.  McGalliard v. Kuhlmann, 722 S.W.2d 694, 696-97 (Tex.
1986).

	An appellant challenging the factual sufficiency of an adverse finding where he had
the burden of proof must show on appeal that the finding was against the great weight and
preponderance of the evidence.  Gooch v. Am. Sling Co., 902 S.W.2d 181, 184
(Tex.App.-Fort Worth 1995, no writ).  If there is some probative evidence to support the
finding, the finding must be upheld.  ACS Investors, Inc. v. McLaughlin, 943 S.W.2d 426,
430 (Tex. 1997).  The court should only set aside an adverse finding if, in light of all the
evidence, the evidence which supports the finding is so weak as to be clearly wrong and
manifestly unjust.  Cain v. Bain, 709 S.W.2d 175, 176 (Tex. 1986).

	In addition, although findings of fact are reviewable for legal and factual sufficiency,
an attack on the sufficiency of the evidence must be directed at specific findings of fact
rather than at the judgment as a whole.  In re M.W., 959 S.W.2d 661, 664 (Tex.App.--Tyler
1997, no writ).  The rule has often been otherwise stated that if the trial court's findings of
fact are not challenged by a point of error on appeal, they are binding upon the appellate
court.  Northwest Park Homeowners Ass'n, Inc., v. Brundrett, 970 S.W.2d 700, 704
(Tex.App.--Amarillo 1998, pet. denied); Carter v. Carter, 736 S.W.2d 775, 777 (Tex.App.--Houston [14th Dist.] 1987, no writ).  However, a challenge to an unidentified finding of fact
may be sufficient for review if it is included in the argument of the issue or point, or if after
giving consideration to the nature of the case, the underlying applicable legal theories, and
the findings of fact provided, the specific finding(s) of fact which the appellant challenges
can be fairly determined from the argument.  See Holley v. Watts, 629 S.W.2d 694, 696
(Tex. 1982) (citing Calvert, "No Evidence" and "Insufficient Evidence" Points of Error, 38
Tex. L. Rev. 361 (1960)).

	In his brief, Halbert makes a general challenge to the sufficiency of the evidence 
pertaining to the trial court's failure to find additional damages.  Halbert also does not
designate whether he is challenging the factual or legal sufficiency of the evidence or both. 
The Texas Supreme Court has taken a liberal approach and somewhat relaxed the
standards for wording points of contention on appeal in an effort "to obtain a just, fair and
equitable adjudication of the rights of the litigants."  Pool v. Ford Motor Co., 715 S.W.2d 629,
633 (Tex.1986), overruled on other grounds by Crown Life Ins. Co. v. Casteel, 22 S.W.3d
378 (Tex. 2000).  Even so, this Court in Northwest found such a lack of specificity to be fatal
to the issues on appeal.  See Northwest, 970 S.W.2d at 704.  Although we do not find it
necessary to rule on this issue in the present case, we do find it difficult to determine the
specific findings of fact which Halbert contends were not supported by the evidence at trial. 


	Moreover, regardless of the findings alluded to in the briefs, we find that the evidence
before the trial court was sufficient to support its conclusion that Kidd Jones was not
responsible for any damage or loss subsequent to the initial repairs.  We are equally
convinced that the trial court's findings were not against the great weight and preponderance
of the evidence.  Danny Hudson, the service manager at Elliott Chevrolet, testified that on
May 30, 2000, Elliott made the necessary repairs to remedy the damage done to Halbert's
truck as a result of the contaminated fuel and that the repairs were billed to Kidd Jones. 
Elliott's repair invoice reflected that the odometer on Halbert's vehicle read 198,849 miles. 
Halbert then drove the vehicle for some time before he began experiencing additional
problems with the engine.  After the lawsuit was filed, the engine was inspected by the
defendant's expert, Phillip Smith.  Smith concluded that Halbert's problems with the engine
"were not related to the fuel issue."  Smith's report also listed the mileage on Halbert's
vehicle to be 211,070, thereby indicating that the vehicle was driven 12,221 miles after the
initial repairs.  This evidence leads us to the conclusion that any number of factors, whether
it be ordinary wear and tear, or otherwise, could have led to the eventual demise of the
engine.  At trial, Halbert stated his belief that if Elliott Chevrolet had replaced the fuel
injector, the situation would have been resolved.  However, instead of questioning the nature
and quality of the repairs, he chose to continue to drive the vehicle another 12,221 miles
until the engine eventually failed and now seeks to recover his losses from Kidd Jones. 
These facts, in addition to the lack of substantive evidence at trial on Halbert's behalf, are
more than sufficient to support the trial court's findings under the appropriate standards of
review.  Issue one is overruled.

	Accordingly, the judgment of the trial court is affirmed.


						Don H. Reavis

						    Justice

	  



 

	
1. There is a dispute in the record as to the length of time the truck was driven
following the initial repairs until the engine ceased to function properly a second time.  



idence may be excluded if its probative value is
substantially outweighed by the danger of unfair prejudice, confusion of the issues, or misleading the jury,
or by considerations of undue delay, or needless presentation of cumulative evidence.


